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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
CHICAGO DIVISION

CAROLYN MILLER, on behalf of herself
and other similarly situated,

Plaintijf
CASE NO. 1:18-cv-04088

v.
Hon. Rebecca R. Pallmeyer

SOUTHWEST CREDIT SYSTEMS, L.P.,

Defendant.

 

DEFENDANT SOUTHWEST CREDIT SYSTEMS, L.P.’S
MOTION FOR SUMMARY JUDGMEN'I`

 

EXhibit C

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Account History

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Qu§.t£m££; 03773 MONl - Secondary 6!12¢’20 18 5:41PM
Amunt__t§§mben 601119902
B§_c.eil§;__ _ _ _ 11/30,‘2_017 §Is§s_d; B§_tume_¢
Ql'.isin§£éla£€§ $125.03 ln$§.L§§_t_BL§_r 0.00
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§ur.LenL§alans_e; $125.03
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§§ ELGIN,IL 60120
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Date Lm.e Mat§hed th.cls_N.Q mmiss.d Am.o.unt Q_Qmmen.t
Notes d v =
walling wl A_cu'§_rt B§§ull Mmm n
ll/30/2017 12:33PM IFUSlON l SEND SEND lLexisNexis Bankruptcy And Deceased data ordered on l 1/30/2017. Current
Balance = 125.03
11/30/2017 12:44PM FUSION SEND SEND lD Info Service data ordered on ll/30/2017. Current Balance = 125.03
ll/30/2017 1:27PM FUSION REC REC LexisNexis Bankruptcy And Deceased retumed.
11/30/2017 2:17PM FUSION REC REC LexisNexis Bankruptcy And Deceased retumed.
ll/30/2017 4:08PM EXPTT UPDT ADDR New address returned from True Trace: 321 - ST ELGIN IL
601204207
ll/30/2017 4:08PM IT ExpTT RETRN Account returned from Experian True Trace
12/1/2017 4:30AM IDCELL +++++ +++++ 2245359056 received a cell phone update from Cell Suppression: The value
was V
12/5/2017 3:54PM LV CO ++++ Status Changed |NEW | ACT
12/5/2017 3:54PM LV TO XM #2245359056#:XM:XM:Ans No Msg100:2017-12-05 15:54:00:HCI
l/4/2018 2:10AM SYSTEM crupd open Open collection account submitted in credit bureau report tile.
1/29/2018 12:24AM SYSTEM crupd open Open collection account submitted in credit bureau report file_
1/30/2018 4:41PM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-01-30 16:41:00:HCI
2/1/2018 3:12PM LV TO XM #2245359056#:XM:XM:Ans No Msg:OO:ZOl$-OZ-Ol lS:lZ:OO:HCI
2/22/2018 3:53PM LV TO XM #2245359056#:XM:Xl\/I:Ans No Msg100:2018-02-22 15:53:00:HC1
2/23/2018 3:33PM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-02-23 15:33:00:HCI
2/26/2018 l:38AM SYSTEM crupd open Open collection account submitted in credit bureau report fi|e.
3/2/2018 l l:09AM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-02 ll:09:00:HCI
3/6/2018 4:05PM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-06 l6:05:00:HCI
3/8/2018 8:50AM LV TO XM #2245359056#:XM:XM:Ans No Msg:OO:2018-03-08 08:50:00:HCI
3/13/2018 3:23PM LV TO XM #2245359056#:XM:XM:Ans No NIsg@O:;QA§;03-l3 15:23:00:HCI
3/14/2018 10:38AM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-l4 10:38:00:HCI
3/15/2018 12:33PM LV TO XM #2245359056#:XM:XM:Ans No Msg200:2018-03-15 12:33:00:l-ICI
3/16/2018 l 1:02AM LV TO XM #2245359056#:XM:XM:Ans No Msg:OO:2018-03-l6 ll:02:00:HC[
3/20/2018 9:28AM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-20 09:28;00:HCI
3/20/2018 3:31PM LV TO XM #2245359056#:XM:XM:Ans No Msg200:2018-03-20 15:31:00:HCI
3/21/2018 10:39AM LV TO XM #2245359056#:XM:XM:Ans No Ms§:OO:2018-03-21 10:39:00:HCI
3/2|/2018 2:21PM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-21 l4:21:00:l-ICI
3/22/2018 9:53AM LV TO XM #2245359056#:XM:XM:Ans No Msg:OO:2018-03-22 09:53:00:HCI
3/23/2018 10:23AM LV TO XM #2245359056#:XM:X1\/I:Ans No l\/Isg:OO:2018-03-23 10:23:00:HCI
3/24/2018 9:54AM LV TO XM #2245359056#:XM:XM:Ans No Msg200:2018-03-24 09:54:00:HCI
3/26/2018 12:43AM SYSTEM crupd open Open collection account submitted in credit bureau report file.

 

 

 

 

 

 

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Latitude By Globa| Software Services, lnc . Q\X/{" hnf\l

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History of Account 65053074C0ntinued)
3/26/2018 l:4lPM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-26 13:41:00:HCI
3/27/2018 9:35AM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-27 09:35:00:HCI
3/28/2018 lO:llAM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-03-28 lO:ll:OO:HCI
3/28/2018 1:30PM LV TO TW #2245359056#:TW:TW:Talked with 3rd party100:2018-03-28 13:30:00:HCI
3/28/2018 1:30PM bstrange TD TW 2245359056 hu
3/29/2018 12:4lAM SYS SYS EOD lst Letter Created by EOD Letter on Contact
4/9/2018 ll:l9AM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-04-09 ll:l9:00:HCl
4/ll/2018 4:12PM LV TO XM #2245359056#:XM:XM:Ans No Msg:00:2018-O4-11 16112:00:HCI
4/18/2018 2:28PM lwhee|er CO SN SCAN DOCUMENTS PLEASE ALLOW 2-3 BUSINESS DAYS TO VIEW
4/18/2018 2:28PM lwheeler CC 609
4/18/2018 2:28PM lwhee|er +++++ +++++ Debtor(l) Dispute Set
4/18/2018 2:28PM lwheeler +++++ +++++ Debtor(l) Restrict Calls Set
4/18/2018 2:28PM lwheeler +++++ +++++ Debtor(l) Restrict Home Calls Set
4/18/2018 2:28PM lwheeler +++++ +++++ Debtor(l) Restrict Work Calls Set
4/18/2018 2:28PM lwhee|er +++++ +++++ Debtor(l) Restrict Letters Set
4/18/2018 2:29PM lwheeler +++++ +++++ Added file: 65053074_03773_ATTY_lwheeler_04l82018.pdf
4/18/2018 2:29PM lwheeler +++++ +++++ Cell (224) 535-9056 for debtor(l) 'Webber, Carolyn' status changed from
Unknown to Bad
4/18/2018 4:15PM l it system l Status CHNG lStatus Changed |ACT |DSP - Sweep_Q600_Restrictions Status Changed to;
DSP
4/23/2018 12:44AM SYSTEM crupd delete Account deletion submitted in credit bureau report file.
4/24/2018 2158PM dtrout +++++ +++++ Status Changed | DSP | ATY
4/24/2018 2:59PM dtrout CS CO ATTY LETTER STATES CONSUMER lS lNSOLVENT AT THIS TIME
AND CANNOT PAY. lF THAT CHANGES THEY WILL BE IN TOUCH.
4/24/2018 2:59PM dtrout CC 609 Deleted from Support Queue
5/22/2018 12:l7PM lT DATE CHNG Statute of limitations adjusted from Un-specif`led to 11/21/2024
muster
R§E_B§.qu§§.t§_d B€.Qu§§.t§_d_§! QELQ_ELQ_¢§§§§§ L§.tt§.l£¢§e Ress.r.in_tis.n
3!29!2018 3£30»“2018 00110 lR - lst Notice

 

 

 

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